Case 1:19-cv-07081-AT-OTW Document 119 Filed 03/23/21 Page 1of1

STEVENS & LEE

669 River Drive, Suite 201
Elmwood Park, NJ 07407
(201) 857-6760 Fax (201) 857-6761
www.stevenslee.com
Direct Dial: (201) 857-6778
Email: robert.donovan@stevenslee.com
Direct Fax: (610) 371-7938

March 23, 2021

VIA E-FILING

Honorable Ona T. Wang, U.S.M.J.
United States District Court
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street, Courtroom 20D
New York, New York 10007

Re: Ahmed Ashour y. Arizona Beverages USA LLC, et al.
Index No. 19-cv-07081 (AT)(OTW)
Joint Request to Extend March 24, 2021 Deadline to File
Joint Status Letter Regarding Discovery

Dear Judge Wang:

This firm represents defendants (“Defendants”) in the above matter. The parties write
jointly to request an extension of the deadline of March 24, 2021 to file a joint status letter
regarding discovery. (ECF 115). The parties met and conferred on March 19 and are scheduled
to meet again today. However, additional time is required this week prior to submitting the joint
status letter. The parties therefore respectfully request that the deadline for the letter be extended
to March 29, 2021,

Thank you for Your Honor’s attention to this matter.

Respectfully submitted,
REESE LUP STEVENS & LEE

Sees a7 ee

CARLOS F. RAMIREZ, ESQ he ne OVAN, BSQ———_
RNEYS F

ATTORNEYS FOR PLAINTIFF OR DEFENDANTS

Allentown «¢ BergenCounty ¢ BalaCynwyd « Cleveland « FortLauderdale * Harrisburg ¢ Lancaster ¢ New York

Philadelphia « Princeton * Reading © Rochester ¢ Scranton ¢ Valley Forge ¢ Wilkes-Barre « Wilmington
Richard J. Pinto, NJ Managing Attorney

A PA PROFESSIONAL CORPORATION

03/23/2021 SLI 1682589v1 115260.00002
